Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 1 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 2 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 3 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 4 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 5 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 6 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 7 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 8 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 9 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 10 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 11 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 12 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 13 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 14 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 15 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 16 of 17
Case 1:09-cr-10280-DPW Document 101 Filed 05/24/11 Page 17 of 17
